        Case 1:99-cr-05193-REC Document 185 Filed 02/08/06 Page 1 of 2


                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                  MEMORANDUM


Honorable Robert E. Coyle
Senior United States District Judge
Fresno, California

                                           RE:    Gerardo FLORES
                                                  Docket Number: 1:99CR05193-04
                                                  PERMISSION TO TRAVEL
                                                  OUTSIDE THE COUNTRY

Your Honor:


The releasee is requesting permission to travel to Mexicali, Mexico. He is current with all
supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On February 5, 2001, Gerardo Flores was sentenced
for the offense of 21 USC 841(a)(1) - Possession of Methamphetamine With Intent to
Distribute (Class A Felony).


Sentence imposed: 70 months custody of the Bureau of Prisons; 5-year term of
supervised release; $100 special assessment.


Special conditions include: Submit to search; Participate in a correctional treatment
program to obtain assistance for drug and alcohol abuse; Participate in a program of
testing (i.e., breath, urine, sweat patch, etc.) to determine if he has reverted to the use of
drugs or alcohol; and Register, as required in the jurisdiction in which he resides, as a drug
offender.


Dates and Mode of Travel: Between February 17 and 20, 2006. The offender will be
traveling by vehicle from Oakdale, California, to Mexico.




                                                                                        Rev. 03/2005
                                              1                                   T R A V E L O C .M R G
        Case 1:99-cr-05193-REC Document 185 Filed 02/08/06 Page 2 of 2


RE:    Gerardo FLORES
       Docket Number: 1:99CR05193-04
       PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


Purpose: Mr. Flores would like the opportunity to attend his cousin's wedding in Mexicali,
Mexico. Based on the foregoing, it is the undersigned's request that Your Honor grant the
above-noted travel. In addition, it is also requested Your Honor provide the probation
officer with the discretion to authorize any further travel by the offender to Mexico, without
further Court notification. If allowed to travel out of the country under the following noted
conditions, the offender will be instructed to report to the United States Department of
Homeland Security (or other appointed border security official) upon his entry and exit from
Mexico.

                                  Respectfully Submitted,

                                   /s/ Phil R. Hendley, Jr.

                                   Phil R. Hendley, Jr.
                             United States Probation Officer

DATED:          February 2, 2006
                Modesto, California
                PRH:lr


REVIEWED BY:          /s/ Deborah A. Spencer
                      Deborah A. Spencer
                      Supervising United States Probation Officer


ORDER OF THE COURT:

Approved              X                           Disapproved


       2/3/06                                      /s/ ROBERT E. COYLE
Date                                              Robert E. Coyle
                                                  Senior United States District Judge




                                                                                        Rev. 03/2005
                                              2                                   T R A V E L O C .M R G
